

People v Hoey (2024 NY Slip Op 50673(U))




[*1]


People v Hoey


2024 NY Slip Op 50673(U)


Decided on February 15, 2024


County Court, Columbia County


Howard, J.


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on February 15, 2024
County Court, Columbia County

The People of the State of New York

againstJohn Hoey, Defendant.

Ind. No. 70018-16

Michael Pollok, Esq.49 West Market StreetRed Hook, New York 12571Attorney for the DefendantCheryl Botts, Esq.Columbia County District Attorney's Office325 Columbia Street, Suite 260Hudson, New York 12534Attorney for the People


Michael C. Howard, J.

The above named Defendant, currently serving a ten year sentence of probation for the crimes of Rape in the Third Degree and Criminal Sexual Act in the Third Degree imposed November 6, 2017, seeks an Order terminating his sentence of probation pursuant to Criminal Procedure Law § 410.90. The People oppose the Defendant's application.
In support of his application, the Defendant provides an undated letter signed by Elizabeth Fernandez, LCSW(R). In it, Ms. Fernandez states Mr. Hoey has completed treatment and counseling with Clearwater Counseling, and has sought out and engaged in continued counseling with her. The Defendant also attaches a letter of support from his significant other, and his own affidavit. He seeks termination of probation to open up employment opportunities and to be able to travel with his children on vacation.
The People, by Cheryl Botts, Esq., in opposition, point out the serious nature of crime and the troubling age gap between the Defendant and the victim.
The Defendant's Probation Officer Katrina Keyser has submitted a letter dated February 14, 2024 detailing her supervision of the Defendant for over six years. In her letter, PO Keyser states that Mr. Hoey is in compliance with the terms and conditions of his probation, and has submitted to polygraphs as directed "with no concerning deception noted." PO Keyser attaches Mr. Hoey's Completion Certificate from Clearwater Counseling, dated January 6, 2020, which [*2]indicates satisfactory progress. There have been no violations of probation.
Counsel for the defendant makes appropriate and cogent arguments that resonate with this Court. This Court notes Mr. Hoey's compliance with probation, his successful completion of sex offender treatment, and his stated goals of providing financial stability for himself and his family and career advancement. Mr. Hoey's application appropriately included letters of reference, including from his long term significant other, which provided insight into his personal and family life. Notably, Mr. Hoey is described as a good father to his two custodial children.
Upon a review of PO Keyser's letter, the Defendant's application and the People's affirmation in opposition, this Court finds i) that the probationer is no longer in need of such guidance, training or other assistance which would otherwise be administered through probation supervision, ii) the probationer has diligently complied with the terms and conditions of the sentence of probation; and iii) the termination of the sentence of probation is not adverse to the protection of the public. 
The Defendant's application is therefore Granted and the Defendant's sentence of probation entered in the Court on November 6, 2017 is hereby terminated effective March 1, 2024.
Dated: February 15, 2024Hudson, New YorkENTER:Michael C. Howard, J.C.C.Papers Considered:1. Order to Show Cause executed on January 25, 2024 seeking termination of probation with attached affirmation of Michael Pollok, Esq. dated January 23, 2024, together with Exhibits "A" through "E."2. Affirmation in Opposition of Cheryl Botts, Esq., Assistant District Attorney for the County of Columbia, dated February 7, 2024.3. Memorandum dated February 14, 2024, from Probation Officer Keyser, with Certificate of Completion from Clearwater Counseling attached.








